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                                              UNITED STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF FLORIDA

                                                   CASE NO.: 1:17-CV-22684-FAM

   ROBERT SCHULTZE and MARIO ALBAN,

              Plaintiff,

   v.

   2K CLEVELANDER, LLC,

              Defendant.

   __________________________________/

            DEFENDANT’S OBJECTIONS TO REPORT AND RECOMMENDATION ON
                         MOTION FOR SUMMARY JUDGMENT.

              COMES NOW Defendant, 2K CLEVELANDER, LLC by and through the undersigned

   attorneys, hereby files Defendant’s Objections to Report and Recommendation on Motion for

   Summary Judgment (Hereinafter “ROR”) [D.E. 84] filed in the case of ROBERT SCHULTZE v.

   2K CLEVELANDER, LLC, and states as follows:

              In the ROR, this Honorable Court recommended denying Defendant’s Motion for

   Summary Judgment [D.E. 46]. ROR [D.E. 84]. The Clevelander respectfully objects to this

   denial as the Court relies on Soliman and Shehata, two factually related matters, which were

   initially proffered by the Plaintiff as supplemental support of his arguments, as a means to

   support its ROR. See Soliman v. SOBE Miami, LLC, No. 16-24943-CIV, 2018 U.S. Dist. LEXIS

   81339, 2018 WL 2229129, at *5 (S.D. Fla. May 14, 2018) Shehata v. Sobe Miami, LLC, Civil

   Action No. 17-23175-Civ, 2018 U.S. Dist. LEXIS 99713, at *11 (S.D. Fla. June 14, 2018).

   Soliman and Shehata should not be afforded any weight in the present matter as they rely on bad

   law and importantly fail to follow binding Supreme Court precedent. Id.


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              Soliman and Shehata fail to follow binding precedent from the United States Supreme

   Court. The Soliman opinion came out over a month after the Supreme Court’s ruling in Encino

   Motorcars, LLC v. Navarro, No. 16-1362, 2018 U.S. LEXIS 2065 (Apr. 2, 2018). The Supreme

   Court proclaimed that courts should not give FLSA exemptions “anything other than a fair

   (rather than “narrow”) interpretation.” Id. Despite this, in the court’s opinion denying the

   Defendant’s Motion for Summary Judgment, Judge Lenard of the United States Court for the

   Southern District of Florida held that:

              Whether the 20% service charge constituted a commission is a question of
              law. Klinedinst v. Swift Invs., Inc., 260 F.3d 1251, 1254 (11th Cir. 2001). Moreover,
              "exemptions 'are to be construed narrowly,' and the employer shoulders the burden of
              establishing that it is entitled to an exemption." Alvarez Perez v. Sanford-Orlando Kennel
              Club, Inc., 515 F.3d 1150, 1156 (11th Cir. 2008) (quoting Evans v. McClain of Ga., Inc.,
              131 F.3d 957, 965 (11th Cir. 1997)). The employer must satisfy this burden by "clear
              and affirmative evidence." Klinedinst, 260 F.3d at 1254 (quoting Birdwell v. City of
              Gadsden, Ala., 970 F.2d 802, 805 (11th Cir. 1992)).
              Soliman v. Sobe Miami, LLC, No. 16-24943-CIV-LENARD/GOODMAN, 2018 U.S.
              Dist. LEXIS 81339, at *9 (S.D. Fla. May 14, 2018). (Emphasis Added).

   Additionally, the factually related Shehata opinion, which was before Judge Scola, also of the

   United States Court for the Southern District of Florida, relied heavily on Soliman in issuing the

   court’s opinion:

              Most notably, the other court in this district assessing this same issue has denied
              summary judgment on these same grounds. Soliman v. SOBE Miami, LLC, No. 16-
              24943-CIV, 2018 U.S. Dist. LEXIS 81339, 2018 WL 2229129, at *5 (S.D. Fla. May 14,
              2018) Shehata v. Sobe Miami, LLC, Civil Action No. 17-23175-Civ, 2018 U.S. Dist.
              LEXIS 99713, at *11 (S.D. Fla. June 14, 2018) (Emphasis Added)

              The court in Soliman clearly erred by construing the FLSA exemption narrowly in

   denying the defendant’s summary judgment motion. It is clear that the court in Soliman did not

   rely on the binding United States Supreme Court precedent laid out in Encino Motorcars, LLC

   which establishes that courts should give FLSA exemptions a “fair”, rather than “narrow”

   interpretation. It follows then that the Shehata opinion is also incorrect in that it relied on the

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   errant Soliman opinion in issuing its ruling. Because Soliman and Shehata fail to follow the

   binding Supreme Court Precedent laid out in Encino Motorcars, LLC, this Honorable Court

   should afford the Soliman and Shehata holdings no weight and only give the Defendant’s 7(i)

   exemption a “fair”, rather than “narrow” interpretation.

              WHEREFORE, the Defendant, 2K CLEVELANDER, LLC, respectfully requests that

   this Honorable Court reconsider its denial of Defendant’s Motion for Summary Judgment [D.E.

   46] without affording any weight to the Soliman and Shehata cases proffered by the Plaintiff and

   accordingly Grant Defendant’s Motion for Summary Judgment [D.E. 46]”.

                                                    CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that on this 12th day of September, 2018, a true and correct copy

   of the foregoing has been furnished by electronic filing with the Clerk of the court via CM/ECF,

   which will send notice of electronic filing to all counsel of record.


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